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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 IN RE:                                                           CASE NO.: 6:18-bk-05950-CCJ
                                                                                  CHAPTER 7
 RODOLFO TERRAZAS, SR,

       Debtor.
 ____________________________________/

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 12, 2018, I electronically served a true and correct
copy of Agreed Order Granting Motion For Relief From Stay, Document No. 24, with the Clerk of Court
by using the CM/ECF system. I also certify that the foregoing was served on this day by either United
States Mail or electronic mail through the CM/ECF system to the parties listed below:

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TAVARES, FL 32778

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ORLANDO, FL 32806

UNITED STATES TRUSTEE - ORL7/13
400 WEST WASHINGTON STREET, SUITE 1100
ORLANDO, FL 32801

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